USCA4 Appeal: 22-4609    Doc: 62          Filed: 01/18/2024       Pg: 1 of 2



                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT
                         1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                           January 18, 2024

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                         RESPONSE REQUESTED - SIMILAR CASES
                             ____________________________

        No. 22-4609,    US v. Randy Price
                        2:22-cr-00097-1

        TO:     Illinois
                New York
                Maryland
                United States of America
                New Jersey
                Michigan
                Maine
                Rhode Island
                Delaware
                Washington
                District of Columbia
                Pennsylvania
                Ohio
                Massachusetts
                California
                Brady
                March For Our Lives
                Colorado
                Minnesota
                Oregon
                Idaho
                New Mexico
                North Carolina
                Connecticut
                Everytown for Gun Safety
                Hawaii
USCA4 Appeal: 22-4609    Doc: 62        Filed: 01/18/2024   Pg: 2 of 2



               The Commonwealth of the Northern Mariana Islands
               Randy Price

        RESPONSE DUE: 01/22/2024

        Response is required to the notice requesting information regarding similar cases
        on or before 01/22/2024. Please use the following form to submit response:
        Response - Similar Cases, using the event: RESPONSE/ANSWER (to Similar
        Case notice).

        Tony Webb, Deputy Clerk
        804-916-2702
